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                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF DELAWARE

 UNITED STATES OF AMERICA,                      )
                                                )
                v.                              )
                                                ) Criminal Action No. 23-cr-00061-MN
 ROBERT HUNTER BIDEN,                           )
                                                )
                        Defendant.              )

                                              ORDER

       IT IS HEREBY ORDERED that for the reasons stated in the Government’s Opposition to

Defendant’s Motion to Compel Discovery and to Set Discovery Deadlines, the Defendant’s

Motion to Compel Discovery and to Set Discovery Deadlines (ECF 83) is DENIED.

       IT IS FURTHER ORDERED that any party seeking to introduce testimony from an expert

witness as part of the party’s case in chief shall make their expert witness disclosure, in accordance

with Fed. R. Crim. P. 16(a)(1)(G) or 16(b)(1)(C), on or before ___________________________.

       IT IS FURTHER ORDERED that any party seeking to introduce testimony from a rebuttal

expert shall make their expert witness disclosure, in accordance with Fed. Crim. P. 16(a)(1)(G) or

16(b)(1)(C), on or before __________________________.

       IT IS FURTHER ORDERED that the defendant shall provide reciprocal discovery

pursuant to Rule 16(b)(1) on or before ___________________________.

       IT IS FURTHER ORDERED that the government shall provide reasonable notice under

Fed. R. of Evid. 404(b) on or before ___________________________.


______________________                                        ______________________________
Date                                                          Hon. Maryellen Noreika
                                                              United States District Judge
